Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 1 of 19

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA

CASE NUMBER 10-20767-Cr-KING

UNITED STATES OF AMERICA,
Plaintiff,

Vs.

JUDITH NEGRON,

Defendant.

DEFENDANT’S SENTENCING MEMORANDUM AND MOTION FOR
A SENTENCE BELOW THE ADVISORY GUIDELINE RANGE

The Defendant, JUDITH NEGRON by and through undersigned counsel, pursuant to
the Fifth and Eighth Amendments to the United States Constitution, 18 U.S.C. 3553(a),
Fed.R.Crim.P. 32(d), (e)(2) and (f) and U.S.S.G. § 6A1.2-3, hereby files this Sentencing
Memorandum and Motion for a Sentence Below the Advisory Guideline Range.

I, INTRODUCTION

Pursuant to U.S. ». Booker, 543 U.S. 220, 125 S.Ct 738, 160 L.Ed. 2d 621 (2005), the
federal sentencing process requires a three step analysis to fashion an appropriate, individualized
sentence. See also Fed. R.Crim.P. 11 (b)(1)(M), amended December 1, 2007. First, the Court is to
resolve any disputed guideline issues and determine the advisory guideline range. Second, the
Court is to consider if there are any factors that may warrant a departure from the advisory
guideline range. As before Booker, the court is to depart when it is warranted under the facts

and circumstances of a particular case, The application of the guidelines is not complete until the
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 2 of 19

departures, if any, that are warranted are appropriately considered. U.S. y. Jordi, 418 F. 3d 1212,
1215 (11" Cir, 2005). Third, the Court is to consider all of the sentencing factors of 18 U.S.C. §
3553(a) and impose a sentence which is “reasonable” and not greater than necessary to achieve
the sentencing objectives set forth in 18 U.S.C. § 3553(a).

This Sentencing Memorandum is intended to provide this Honorable Court with insight
into Judith Negron - her life history, family, education and role in her community — to assist in
fashioning an appropriate, individualized sentence which serves the twin goals of sentencing —
punishment and deterrence - and achieve the objectives of 18 U.S.C. § 3553¢a).

II. DEFENDANT’S BACKGROUND AND FAMILY CHARACTERISTICS!

A. Exodus from Cuba

Judith “Judy” Negron, age 40, was born in Havana, Cuba, one of two children born to
Alfredo and Barbara Cruz. Judith came to the United States with her parents and younger sister,
Yamila during the Mariel boatlift of 1980. Unable to live under Fidel Castro’s communist
regime, Alfredo, after being advised by Cuban police that they could leave the country, picked
up his daughter, Judy from school and found her crying as word had spread of a mass exodus.
As Judy left the school, teachers and schoolmates called her offensive names: “escoria” (dregs)
and “gusana” (worms) and accused her of selling out her country for a pair of blue jeans. At that
time she was 9 years old.

The family left other relatives behind, promising to get them out of Cuba to join them in

the United States. They were not allowed to take anything with them except the clothes on their

 

! As the Court is aware, over the past decade, due to budget restraints and lack of personnel, the U.S. Probation
Office has not been able to delve into a defendant’s background to provide a complete picture of a defendant’s
upbringing, accomplishments and family lifestyle. Today’s reports consist of basic background information
provided by the defendant and family members, The few paragraphs in the PSI prepared in this case provide some
general information about Judith’s background. This sentencing memorandum provides a more comprehensive
picture of the individual and is designed to assist the Court in fashioning an individualized, reasonable sentence

2
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 3 of 19

backs. All their personal possessions were confiscated by the government. The family was taken
to a camp and spent five days living under cardboard and a sheet. There were no toilet facilities.
They later moved to a mangrove area called “El Mosquito,” for obvious reasons, Like other
refugees throughout the course of history, people were divided by background for the trip out of
Cuba. Judy and her family were in an area divided by a cable - on the other side were prisoners
and the mentally ill. Guard dogs were attached to the cables to prevent people from leaving. The
Cruz family was there for several days until one morning they were taken to a 42 foot boat in the
Port of Mariel. There were 77 people on board, mostly women and children, and as the boat
departed the family felt much sadness as they did not know if they would ever again see their
loved ones who were left behind.

There was little food and water onboard, and the family was given only four sausages to
eat. While at sea, the boat encountered several storms, one where the boat ran into eight foot
waves. Everyone on the vessel was crying, screaming and vomiting for fear of drowning.
Smaller boats following behind disappeared from view and many people apparently drowned.
One of the vessel’s engines caught fire and the boat’s captain had to veer off course to try and
get out of the storm. Sharks suddenly appeared and Mr. Cruz feared the boat would capsize and
death would be imminent for him and his family. Thankfully, his fears were unfounded. After
being at sea for more than 25 hours and rescuing another smaller boat, the family finally reached
Key West.

This upheaval from her childhood home, and the harrowing journey to America had a
profound effect on Judith, as it would any small child. Memories of this ordeal played a

significant role in her determination to be successful, both personally and professionally,

 

below the advisory guideline range.
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 4 of 19

B. Childhood in Florida

Upon arriving in Florida, Judy, her sister and parents went to live with her father’s aunt in
Tampa. No one spoke English, including Judy. She learned to speak English on her own while
attending school, socializing with English speaking friends and watching television. After six
months, the family moved to Miami, where they have lived ever since. Alfredo opened a welding
shop and her mother, Barbara, who was seamstress in Cuba, began a sewing business. Her
parent’s hard work paid for the rent, food and other costs of living but little was left over for
recreational purposes.

The family lived in three different houses during their early years in Miami, one of which
was made of coral rock. Judy and Yamila called it “Royal Castle”. According to Judy and her
family, they lived in what was considered “bad” and “tough” neighborhoods, She was not
allowed to play outside after dark. She began her education at Kensington Park Elementary
School and graduated from Hialeah Miami Lakes High School in 1989. Judy attended Florida
International University, attaining a Bachelor of Science in Psychology and St. Thomas
University, where she received a Masters of Science in Mental Health Counseling,

C. Immediate Family

Judy is blessed with a close knit family, which has been unwavering in its support of her
throughout the difficult ordeal of these past two years. The bond between these family members
is extremely strong and very supportive. The recent absence of Judy from their lives has
significantly affected each of them.

Alfredo Cruz, Judy’s father is 64 years of age, and lives in a modest home in Hialeah,

Florida. He has been a welder since 1981 and is employed with Ryder Welding in Opa-Locka,
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 5 of 19

Florida servicing residential and commercial properties. Judy’s mother, Barbara Cruz is 62 years
of age and retired, Barbara and Alfredo have been married for 42 years and have two children,
Judy and Yamila.

Judy’s sister, Yamila Estrada is 35 years old and lives with her husband and children in
Miami. She and her husband, Jorge Estrada have been married since 1992 and have two children,
R.E. and V.E., ages 9 and 6, respectively. Yamila is a part time Marketing Associate with
Raymond James and Associates in Coral Gables, Florida. In addition, she is the Vice President of
the PTA at her children’s school.

Judy’s grandmother, with whom she is very close, Isabel Crisitna Cruz also lives in
Hialeah. She is 82 years old, and suffers from a myriad of medical problems including diabetes,
pulmonary emphysema, hypertension, asthma and circulatory problems including arthritis. All
family members act as her caregiver.

D. Marriage and Family Life

Judy has been married to Hector Negron, age 45 since 1992. They own a modest 3
bedroom, 2 bath home located in a middle class residential area in Miami Lakes, where they live
with their two sons, B.N. and B.N,, ages 11 and 7. Hector is the self employed owner of
Worldwide Pools since 2001. The business is located in Hialeah, Florida, and services and
maintains residential and commercial swimming pools.

The bond between Judith and Hector remains strong as ever, although Mr. Negron knows
full well the severe repercussions that await his wife. The Negrons were childhood sweethearts
who began dating as teenagers. They married in 1992 and the birth of two loving sons eventually
followed. Judy, although a hard working individual, is also a doting mother involved fully in her

sons’ upbringing, education and all around wellbeing, Since her incarceration, the full
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 6 of 19

responsibility for their boys has now fallen to Hector.

BN. and B.N. are profoundly suffering from the recent separation from their mother.
B.N., due to his mother’s incarceration and lack of communication with her, has developed
emotional problems and is being treated by a mental health counselor. He has withdrawn from
everyday communications and his grades and behavior in school have deteriorated. This is in
stark contrast to the happy child he was before. Unfortunately, once sentence is imposed, and the
possibility of a lengthy incarceration period becomes reality, the fear is that B.N. will withdraw
even further from the family and society.

BN., the oldest, although despondent about his mother’s absence, is not exhibiting the
same psychological symptoms as B.N. However, due to his age he is acutely aware that his
mother will be gone for many years. He speaks to his father often hoping to hear those
comforting words, “everything will be alright,” but all his father can do is provide emotional
comfort, Judy fears that she will not again be with her children and family until after she is
released from imprisonment as a very elderly woman.

Their boys’ aunt, Yamila is doing all she can to assist in their care but it simply isn’t the
same as the love and comfort of their mommy. This deprivation of love and affection has been
further compromised by a lack of daily communication, as Judy’s telephone privileges at the
Federal Detention Center (FDC) have been removed because of an infraction, On her second
day in custody after remand, she was talking to her husband, and he placed a call on another
phone to her sister, Yamila. Hector placed both phones on speaker mode, so they could have a
three way conversation. Unbeknownst to Judy, Hector or Yamila, this is prohibited by the
Bureau of Prisons. Despite the fact that she was unaware of this policy, her phone privileges

were suspended for 6 months — an extremely harsh punishment for a mother of two young

 
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 7 of 19

children, Since the discipline was imposed, Judy’s contact with the boys is limited to one visit
per week, This has only served to exacerbate the separation anxiety and emotional issues which
the two boys are experiencing.

‘The family has also suffered financially since the loss of Judy’s income. Previously, the
family income earned by Hector and Judy went towards living expenses, their children’s
education and savings. As a result of their current economic situation, Hector will no longer be
able to afford his sons’ tuition at Dade Christian School, and they will be denied the Christian
education they have known since entering this institution.

Attached as Appendix | to this Sentencing Memorandum are a series of photographs
depicting Judith Negron and her family during milestone occasions and everyday family life.
They are included to provide this Honorable Court with an understanding of the uniqueness of

Judy and how much she means to her family.

Il. THE DEFENDANT’S EDUCATION AND ACCOMPLISHMENTS

As the PSI briefly mentions, Judith has received degrees from institutions of higher
learning. What the educational section of the report does not address is all of her major
accomplishments, continuing education, grade point averages and extracurricular activities.

Judith began her educational career at Kensington Park Elementary, Citrus Grove Jr.
High School, and Miami High School. She transferred to Hialeah Miami Lakes High School in
the 10" grade and graduated in 1989, While in high school, Judy participated in Modern Dance
and entered the Jazz Dance Competition in 1988, winning the National Acclaim Award along
with other members of the dance troupe. At the same time, she also worked to assist her family

financially. Judy held jobs at Domino’s Pizza, Union Central Life Insurance (which provided her
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 8 of 19

with scholarship funds) and as a clerk at a local auto dealership. She graduated from high school
with a 4.0 Grade Point Average and received a scholarship in Art Architecture fo attend Miami
Dade Community College. Judy received an Associate of Arts degree and continued her
undergraduate education at Florida International University (FIU). At FIU she changed her major
to Psychology and took graduate courses and psychology lab classes. She graduated from FIU
with a 3.8 GPA and was admitted to the graduate school at St. Thomas University for her

Masters Degree. Judith graduated in 1998 with a 4.0 GPA in Mental Health Counseling.

Continuing Education and Certificates”

In addition to Judy’s classroom curriculum and Masters Degree in Mental Health
Counseling, she continued to increase her knowledge of her chosen profession by attending
numerous continuing education classes and receiving certificates of accomplishment:

National Board of Certified Counselors
National Certified Counselor, October 2, 2002

American Psychotherapy Association
Board Certified Professional Counselor, November 2007
State of Florida Licensure
Licensed Mental Health Counselor, AC #2422804, issued November 19, 1992
Continuing Studies

University of Miami, Disease of Addiction, A grade, March 10, 1997

Training and Certification

 

* Attached to this Sentencing Memorandum as Appendix 2 are copies of many of Judith Negron’s
advanced degrees and certificates.

8
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 9 of 19

Northwestern University, Child and Adolescent Needs and Strengths, February 18, 2003
Functional Assessment and Rating Scale, June 25, 2005
Children’s Functional Assessment Rating Scale, June 25, 2005

Ongoing Licensure Continuing Education Hours

Catalyst Inc.,8 Hour, Post Graduate Mental Health Counseling, September 28, 2002

Lock Towns Community Mental Health Center Staff Training Certification in Children’s Bio-

Psychological Assessment Training, December 3, 2002

Lock Towns Community Mental Health Center Staff Training Certification for Assessment

and Treatment Planning, January 24, 2003

Family Services of Metro Orlando for Adoption Competency Training, May 9, 2008

American Therapeutic Corporation for Your Heart Matters, November 2, 2005

American Therapeutic Corporation for Slip, Trip and Falls, November 2, 2005

COMPUSA Quickbooks Introduction, July 19, 2005

Continuing Education Certificate for Issues of Supervision, September 28, 2006

ABCOMM, Inc for Bipolar Disorder, April 10, 2006

Family Counseling Services for Diagnostic Classification, February 26, 2004

University of South Florida, Department of Health Law & Policy, March 21, 2006

Human Resources Council for Fundamentals of Personnel Law for Managers and Supervisors,
February 6, 2006

Orange County Coalition for a Drug Free Community Treatment Conference, June 26, 2006

University of South Florida, Baker Act Training, March 21, 2006

SkilfPath Seminars, How to Effectively Manage Multiple Locations, August 24, 2006

ADP Employer Services, Benefits Tracking and HR Expert, May 12, 2009

ADP Employer Services, Pay Expert, May 7, 2009

Mental Health Association of Broward County at Nova Southeastern University,
Community Resources, March 5, 2010

Jackson Health System, Domestic Violence/Abuse Reporting, October 18, 2002

Certificates of Attendance

University of South Florida, Department of Mental Health Law and Policy,
Treatment Planning Tutorial and Lab, September 2002
Nursing Unlimited, Inc., American Heart Association Health Care and CPR, April 26, 2009
Eleventh Judicial Circuit Parenting Coordination Training, November 12, 2003
Laura Weber Mental Health Associates, P.A., Service Planning for Case Managers,
November 2006
Doctor’s Assistance Corporation for HIPPA Compliance, June 14, 2003

Miscellaneous Course Completion

State of Florida Executive Department, Notary Public

Life Office Management Association, Inc., Associate Customer, Service September 1996
Comprehensive Risk Services, Inc., Defensive Driving Training, June 25, 2008

Florida Medicaid Program, Approval for Billing for Community Mental Services,

9
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 10 of 19

December 30, 2003
Agency for Health Care Administration (AHCA) Approval for Group Comprehensive
Behavioral Assessment, August 28, 2003

Judith embraced her profession, and enjoys helping people in need. She put her
education into practice to assist in the treatment of mental health patients beginning with her
internship while at St. Thomas University, working at the Lock Town Community Mental Health
Center (now Jackson South), various mental health centers during the 1990’s and eventually with
ATC as a mental health counselor. During her involvement with the aforementioned agencies,
Judith developed various mental health programs, including one for children. Her work was very
well respected and in several of the agencies where she worked she was promoted to program
director,

IV. MOTION FOR A SENTENCE BELOW THE ADVISORY
GUIDELINE RANGE
A. Family Ties and Responsibilities

As discussed above, Judith has an extremely close and loving relationship with her whole
family, especially her husband and two young children. Her youngest son, B.N, has developed
serious emotional issues due to his mother’s absence and incarceration. In addition he is unable
to speak to her via telephone due to a sanction by the Bureau of Prisons. Although her youngest
son is overtly manifesting his struggles, an excessive term of incarceration will significantly
affect Judy’s relationship with all her family members, Judy is only asking for the opportunity to
share as much as she can of the upcoming formative years with her sons, participate in family

milestones such as graduations, weddings, the birth of children and reunite with her family ina

reasonable time. She is praying this Honorable Court will consider this, and show leniency in its

sentence.

10

 
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 11 of 19

In Gall v. US, 552 US. 38, 128 S. Ct. 586 (2007), the court found that “compelling
family circumstances” would justify a downward variance from the guidelines. The Seventh
Circuit has held that the district court is required to consider a defendant’s family circumstances
and to provide an adequate analysis of how much weight, if any, it should command, U.S. y.
Schroeder, 536 F.3d 746 (7" Cir. 2008). The Ninth Circuit found that family ties may warrant a
non-guideline sentence even if they do not support a departure, U.S. v. Menyweather, 447 F.3d
625 (9" Cir. 2006) (affirming a departure for family ties but noting that even if the court erred in
departing, Booker now permits the court to consider family ties and responsibilities as part of the
“history and characteristics” of the defendant under 18 U.S.C, 3553(a)(1)); U.S. v.
Antonakopoulos, 399 F.3d 68, 81 (1 Cir. 2005) (in bank fraud case, on remand district court
may consider fact that defendant was caretaker for his brain damaged son as grounds for
sentence below range even though there were alternative means of care so defendant apparently
did qualify for traditional departure); U.S. v. Galante, 11 F.3d 1029 (2d Cir, 1997) (affirming
district court’s 13 level downward departure in drug case from 46-57 months to 8 days where
defendant showed he was conscientious and caring father of two young sons who would have
faced financial hardships). Other courts including the 6" Circuit, 8th Circuit and the 10 Circuit
have permitted downward variances based on family ties and responsibilities. Mrs. Negron prays
the Court takes into consideration her very important role as a mother and impose a sentence
below the advisory guideline range.

Attached to this Sentencing Memorandum as Appendix 3 are 60 character reference
letters from Judith Negron’s family and friends which highlight how she has touched each of
their lives, and demonstrating her value as an individual. These letters provide a wealth of

information for this Honorable Court to consider in fashioning an appropriate sentence.

1]
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 12 of 19

B. Proportionality in Sentencing

An important issue in sentencing is proportionality. The concept of proportionality is
central to the Eighth Amendment. Embodied in the Constitution's ban on cruel and unusual
punishments is the “precept of justice that punishment for crime should be graduated and
proportioned to [the] offense.” Graham v. Florida, 1308. Ct. 2011, 2021, 176 L. Ed. 2d 823
(2010), as modified (July 6, 2010), citing Weems vy. United States, 217 U.S. 349, 367, 30 S.Ct.
544, 54 L.Ed. 793 (1910). When comparing the economic offenses for which Judith Negron was
convicted with the total offense levels and guidelines imprisonment range of other crimes,
especially violent crimes, the disproportionality of the advisory guidelines sentence here is
evident. The following offense levels involve other crimes that are more or equally egregious.
The majority of these offense levels include offense characteristics, but no Chapter Three

adjustments, As calculated in the PSI, Judith Negron’s Total Offense Level is 48 (43) with an

imprisonment range of life.’

OFFENSE LEVEL RANGE
Homicide § 2A1.1 43 Life
Second Degree Murder § 2A1.2 38 235-293

Assault with Intent to Commit
Murder 33 135-168

 

> ‘The Defendant has filed Objections to the Presentence Investigation Report (D.E. 382),
contending that the Total Offense Level should appropriately be level 35, translating to an advisory

guideline range of 168 to 210 months imprisonment.

12
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 13 of 19

Criminal Sexual Abuse § 2A3.1 42 360-Life
(Includes characteristics)

Criminal Sexual Abuse ofa Minor —.28 78-97
(Statutory Rape) § 2A3.2
(Includes characteristics)

Kidnapping § 2A4.1 40 292-365
(Includes characteristics)

Aircraft Piracy § 2A5.1 38 235-293
(If death resulted) 43 Life
Economic Offenses § 2B1.1 40 292-365
(Includes characteristics and

$100,000,000.00 loss

Armed Robbery § 2B3.1 38 235-293
(Includes characteristics and

$5,000,000 loss)

Drugs § 2D 1,1 38 235-293
(Involves 1,000,000 kilograms

of Heroin)

Continuing Criminal Enterprise

§ 2D1.5 42 360-Life
(Involves 1,000,000 kilograms

of Heroin)

Sexual Conduct with a Minor 40 292-365
(Commercial, trafficking, includes

Characteristics)

Involuntary Servitude/Slave Trade 31 108-135
§ 2H4.1 (includes characteristics)

Arson § 2K 1.4 40 292-365
($2,000,000 damage)

Treason § 2M1.1 43 Life
Sabotage § 2M2.1 32 121-151

13
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 14 of 19

Providing Materials to Foreign 28 78-97
Terrorists (includes characteristic)

Nuclear/Biological Weapons of 44 Life
Mass Destruction § 2M6.1

Antitrust Offenses § 2R1.1 29 87-108
(Involves in excess of $1,500,000)

The advisory guideline range in Judith’s case equates her with individuals who have
committed Homicide, Criminal Sexual Abuse, Aircraft Piracy, CCE, Treason and Possession of
Nuclear/Biological Weapons of Mass Destruction! How can a comparable advisory guideline
range be reconciled in the case at bar?

Not surprisingly, a review of the history of the increases in the fraud loss enhancements
under §2B1.1(b)(1} demonstrates that the increases are legislative/political reactions, rather than
being based on empirical evidence that more severe sentences were needed to deter further
criminal conduct or protect the public. See U.S.S.G, $2B1.1 (historical notes) (2003
amendments) (noting a previous maximum enhancement of 26 levels). Interestingly, these
amendments were designed to “punish adequately offenses that cause catastrophic losses of
magnitudes previously unseen, such as the serious corporate scandals that gave rise to certain
portions of the Sarbanes Oxley Act.” US.S.G. 2B/.1 (historical netes) (2003 amendments)
(reason for amendments). Guidelines that are not empirically rooted but are instead politically
motivated or based on other types of institutional pressure undermine the factors of Section
3553(a). In discussing this, one legal scholar noted:

A general increase in federal economic crime sentences might have been justifiable on
deterrence grounds if there were evidence that existing penalties were failing to deter
potential offenders. One indicator of sufficient stringent penalties for a class of crimes
would be an increase in the general incidents of such crimes, However, the available
statistics show exactly the opposite trend for economic offenses. See frank O. Bowman,
HE, Pour encourager les autres? The Curious History and Distressing Implications of the
Criminal Provisions of the Sarbanes-Oxley Act and the Sentencing Guidelines

14

 
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 15 of 19

Amendments That Followed, 1 Ohio St. J. Crim. Law 373, 419 (2003-2004) (collecting
evidence).

In the case at bar, the disproportionate enhancement of 30 levels under §2B1.1(b)(1) for a loss in
excess of $200 million does not alone result in an advisory guideline range of life imprisonment.
Added to the Base Offense Level calculations in the PSI are increases of 2 levels for vulnerable
victims, 2 levels for a large number of vulnerable victims, 2 levels for “sophisticated means”
under Section 2B1.1(b)(2)(c), 2 levels for violation of 18 U.S.C, 1956 and 4 levels for role in the
offense as an organizer/leader, resulting in a total offense level 48. One wonders how it would
be realistic to expect an over $200 million fraud loss not to involve numerous victims and
involve sophisticated means (as defined so broadly by the Guidelines). Thus, for all practical
purposes, before any other common upward adjustments are even considered, a $ 200 million
dollar plus fraud loss will invariably yield a “life” sentence under the advisory guidelines. Under
the circumstances, the strict application of the United States Sentencing Guidelines in this
particular case exposes what United States District Court Judge Jed S. Rakoff warned as: “the
utter travesty of justice that sometimes results from the guidelines’ fetish with abstract arithmetic,
as well as the harm that guideline calculations can visit on human beings if not cabined by
comunon sense.” United States v. Adelson, 441 F. Supp. 2d 506, 512 (S.D.N_Y. 2006).

This court is required to consider 18 U.S.C. 3553(a)(6) which involves “the need to
avoid unwarranted sentence disparities among defendants with similar records who have been
found guilty of similar conduct. See also Gall, 552 U.S. at 50; Rita v. United States, 551 U.S.
338,356, 127 S.Ct. 2456, 168 L.Ed 2d. 293(2007) (“The sentencing judge should set forth
enough to satisfy the appellate court that he has considered the parties’ arguments and has a
reasoned basis for exercising his own legal decision-making authority.”)

The following are illustrative of cases in the Southern District of Florida, and the

15
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 16 of 19

sentences imposed for various financial offenses:

Anthony Giordano, 05-80061-Cr-Zloch, hedge fund/securities fraud, loss $7 million or
less, 10 years BOP

Salvatore Argento, 04-60206-Cr-Cohn, 18 U.S.C, 371 conspiracy (5 year cap), loss
between $7 mil and $20 million, 45 months BOP

Joseph Zumwalt, 05-80061-Cr-Zloch, securities fraud, loss $7 million or less, 5 years
BOP after a §5K1.1 Departure

Jack Abramoff, 05-60204-Cr-Huck, Conspiracy to Commit Wire and Mail fraud
(charged with bribing members of the U.S. Congress including powerful Representative
Bob Ney (R. Ohio) who was charged with conspiracy for covering up the influence
peddling investigation of Ambramoff), $35,000,000 loss, 70 months BOP (since released

from confinement)

Carlos Benhamu, 04-20337-Cr-Martinez, Bank Fraud, $2.2 million loss, 2 years BOP

Barry Silverstein, 06-601 15-Cr-Cooke, Health Care Fraud, $1.7 million, 46 months
BOP

Lawrence Gallo, 02-20637-Cr-Marra; 04-20478-Cr-Marra, Securities Fraud, Mail and
Wire Fraud, loss between $2.5 and $7 million Defendant committed latter offense while
first charge pending, 135 months BOP

Laurence Isaacson, 08-2007 1-Cr-Jordan, Securities Fraud, found guilty by jury, 18
U.S.C. 371, $15 million loss, 36 months BOP

Milton Barbarosh, 08-20071-Cr-Jordan, Securities Fraud, 18 U.S.C, 371, $15 million
loss, 30 days BOP after §5K1.1 Motion

Eric Hauser, 08-2007 1-Cr-Jordan, Securities Fraud, pled guilty 18 U.S.C. 371,
$220,000,000 loss, 60 months BOP, 30 days BOP after §5K 1.1 Motion

Thomas McKenzie, 08-20440-Cr-Gold, Medicare Fraud, $84 million restitution, 168
menths BOP

Miguel Libera, 08-2085 1-Cr-Lenard, Medicare Fraud, $9.8 million restitution, 136
months BOP

Vivian Hernandez, 08-2085 1-Cr-Lenard, Medicare Fraud, $3.6 million restitution, 72
months BOP

While the aforementioned cases involve differing amounts in comparison to the funds

16
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 17 of 19

involved in the case before the Court, it is the significance of the punishment imposed on the
individual which they illustrate. This Honorable Court, having heard the trial, hopefully has
come to the conclusion that Mr. Duran and Ms, Valera controlled ATC and benefited greatly
from this scheme. A review of the forfeiture count in the superseding indictment makes it clear
that the majority of ill gotten gains in this case were used by Duran and Valera to make
extravagant purchases and fund their lifestyles. The money Judy received from ATC and
Medlink was primarily in the form of salary — half of which was deposited in a joint account with
her husband to pay their bills, and the other half of which was deposited into a Raymond James
investment account. Unlike Duran and Valera, Judy didn’t purchase real estate, fancy cars and
watches or go on vacations.

Judith’s involvement in this case does not warrant the same punishment as Mr. Duran and
Ms. Valera, who received 50 and 35 years imprisonment, respectively. This Honorable Court
sentenced the other primary participant, Margarita Acevedo to 91 months after granting the
government’s §5K1.1 motion. And further reduction is anticipated for Ms. Acevedo via a Rule
35 motion for additional cooperation, It is therefore appropriate for the Court to consider a
sentence somewhere between the two extremes.

In departing from an advisory guideline range of 360 to life to a sentence of incarceration
of 60 months in the case of United States v. Lennox Parris, 05-cr-0636-FB (E.D.N.Y. 2005),
Senior District Judge Frederic Block reflected that “it is difficult for a sentencing judge to place
much stock in a guidelines range that does not provide realistic guidance. My search for more
relevant guidance, therefore had to proceed in other directions, although I would have much

preferred a sensible guideline range to give me some semblance of real guidance.” In the case of
17
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 18 of 19

Judith Negron, it is respectfully submitted that guidance comes from a review of the relevant
factors under 18 U.S.C. § 3553 as mandated by the Supreme Court, a comparison of other

relevant sentences in comparable cases and an appreciation of the individual standing before the

Court for sentencing.

Vv. CONCLUSION

Judith Negron stands before this Honorable Court confronted with an advisory guideline
imprisonment range of life based on Medicare billings in excess of $205 million. She faces an
astonishingly severe punishment of the type reserved for terrorists, murderers, child abusers and
other violent offenders. But she is also the mother of two children, with a loving husband and
family who are all suffering through this ordeal. The reality is that she will be separated from
them for many years, important years which will never be replaced. She asks only that this
Honorable Court impose a reasonable sentence which is sufficient, but not greater than
necessary, fo punish her for the crimes for which she has been convicted.

WHEREFORE, the Defendant, JUDITH NEGRONmoves this Honorable Court to

consider this Sentencing memorandum, and grant her Motion for a Sentence Below the Advisory

Guideline Range.

18

 
Case 1:10-cr-20767-JLK Document 383 Entered on FLSD Docket 12/01/2011 Page 19 of 19

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 1“' day of December, 2011, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of
electronic filing to the following: Jennifer Saulino, Trial Attorney (jennifer,saulino@usdoj.gov),
United States Dept. Of Justice, Criminal Division, Fraud Section, 1400 New York Avenue,
N.W,, Washington, D.C. 20005.

Respectfully submitted,

s/ Barry M, Wax
Barry M. Wax

Florida Bar No. 509485

Attorney for Defendant Judith Negron
LAW OFFICES OF BARRY M. WAX
800 Brickell Avenue

Penthouse 2

Miami, Florida 33131

Telephone (305) 373-4400

Facsimile (305) 358-4010

barrywax(@bellsouth.net

19

 
